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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 23-cr-00264-GKF-1
ORDER: RULE 5 “BRADY”
Daniel Lawrence Charba , DISCLOSURE
Defendant(s).

As required by Fed. R. Crim. P. 5(f)(1) and N.D. Okla. General Order 21-01, the Court

confirms the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963)

and its progeny, and orders the United States to comply with that obligation in this case. Failure to
timely comply may result in consequences, including but not limited to exclusion of evidence,
adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.

IT IS SO ORDERED this August 24, 2023.

(Wer

Christine D. Little, U.S. Magistrate Judge

IA Arraignment Indictment Release (12/2021)
